 

Case 2:04-cr-01189-CAS Document 221 Filed 08/27/20 Page 1 of 2 Pageriinéet Obceicr court

 

United States District Court August 27, 2020

Central District of California

 

 

 

CENTRAL DISTRICT OF CALIFORNIA

 

 

 

United States of America sy:_CMJ DEPUTY
Plaintiff

Case Number

04-CR-1189-CAS
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Gabriel Gonzalez
Defendant, Pro Se

Motion to seal proceedings

Cabriel Gonzalez asks this honorable court to seal the information tendered
in these proceedings. The information contained herein incorporates private medical
records and medical information that should not be made publicly available. Also,
information related to parties in Gonzalez’ family, their private information and
work profiles and other particulars which could be used by others for harmful purposes
whould be kept from public accessibility.

Gonzalez prays this court seal these records for the above reasons.
Certificate of Service

I certify under the penalty of p.rjury that the foregoing Motion to seal proceedings
was placed in the prison's internal mail system on 7/08/20 for delivery to 312 N.
Spring Street Los Angeles California 90012. Gonzalez asks this court's clerk to
serve allother interested parties via electronic notification and to provide him

with a copy of this stamped filed motion.

Gabriel Gonzalez
Defendant, Pro Se
 

 

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Gabriel Gonzalez
PO BOX 000:Low
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Forrest CITY, AR 72336
United States

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Gabriel Gonzalez

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